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8                                   UNITED STATES DISTRICT COURT
9                                 CENTRAL DISTRICT OF CALIFORNIA
10

11   Ignacio Vera,                                )   NO. CV 21-6364-FMO (Ex)
                                                  )
12                        Plaintiff(s),           )
                                                  )
13                   v.                           )   ORDER DISMISSING ACTION WITHOUT
                                                  )   PREJUDICE
14                                                )
     Smart & Final Stores LLC; 5M Arminta,        )
15   LLC; and DOES 1 to 10,                       )
                                                  )
16                        Defendant(s).           )
17
            Having been advised by counsel that the above-entitled action has been settled, IT IS
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     ORDERED that the above-captioned action is hereby dismissed without costs and without
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     prejudice to the right, upon good cause shown within 30 days from the filing date of this Order,
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     to re-open the action if settlement is not consummated. The court retains full jurisdiction over this
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     action and this Order shall not prejudice any party to this action.
22
     Dated this 8th day of November, 2021.
23

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                                                                           /s/
25                                                                  Fernando M. Olguin
                                                               United States District Judge
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